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                 In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                              No. 08-284V
                                          (Not to be published)

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                                          *
TISHA METTE and RYAN R METTE, parents     *
and natural guardians of A.P.M., a minor, *
                                          *                               Filed: December 21, 2015
                     Petitioners,         *
                                          *                               Decision by Stipulation; Attorney’s
              v.                          *                               Fees & Costs; Interim Fees.
                                          *
SECRETARY OF HEALTH AND                   *
HUMAN SERVICES,                           *
                                          *
                     Respondent.          *
                                          *
*****************************

Robert Joel Krakow, Law Office of Robert J. Krakow, P.C., New York, NY, for Petitioners

Lynn Ricciardella, U.S. Dep’t of Justice, Washington, DC, for Respondent

                    ATTORNEY’S INTERIM FEES AND COSTS DECISION1

        On April 17, 2008, Tisha Mette and Ryan R Mette filed a petition on behalf of their minor
child A.P.M. seeking compensation under the National Vaccine Injury Compensation Program.
An entitlement hearing was held July 28-29, 2015, and the Parties are still completing post-hearing
briefing.

       On December 21, 2015, counsel for both parties filed a joint stipulation in regards to
interim attorney’s fees and costs. The parties have stipulated that Petitioners’ counsel should
receive a lump sum of $185,026.52, in the form of a check payable to Petitioners and Petitioners’

1
  Because this decision contains a reasoned explanation for my action in this case, I will post this decision on the
United States Court of Federal Claims’ website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-
347, § 205, 116 Stat. 2899, 2913 (Dec. 17, 2002) (current version at 44 U.S.C. § 3501 (2014)). As provided by 42
U.S.C. § 300aa-12(d)(4)(B), however, the parties may object to the posted decision’s inclusion of certain kinds of
confidential information. Specifically, under Vaccine Rule 18(b), each party has 14 days within which to request
redaction “of any information furnished by that party: (1) that is a trade secret or commercial or financial in substance
and is privileged or confidential; or (2) that includes medical files or similar files, the disclosure of which would
constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the whole decision will be
available to the public. (Id.)
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counsel. This amount represents a sum to which Respondent does not object. In addition, and in
compliance with General Order No. 9, Petitioners have represented that they incurred reimbursable
costs of $5,066.90 in proceeding on this petition.

      I approve the requested amount for interim attorney’s fees and costs as reasonable.
Accordingly, an award should be made in the form of:

        a check in the amount of $185,026.52 payable jointly to Petitioners and Petitioners’
         counsel, Robert J. Krakow, Esq;

        a check in the amount of $5,066.90 payable solely to Petitioners.


       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of the
court SHALL ENTER JUDGMENT in accordance with the terms of the parties’ stipulation.2


         IT IS SO ORDERED.
                                                                     /s/ Brian H. Corcoran
                                                                        Brian H. Corcoran
                                                                        Special Master




2
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice renouncing their
right to seek review.
